Case 1:22-cv-01237-RGA Document 16 Filed 10/12/22 Page 1 of 5 PageID #: 1179




                            IN THE UNITED STATE DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


                                                                             Chapter 11
    In re

                                                                             Bankruptcy Case No.
    Boy Scouts of America and Delaware BSA,                                  20-10343 (LSS)
    LLC, 1
                     Debtors.
                                                                             (Jointly Administered)


    National Union Fire Insurance Co. of
    Pittsburgh, PA, et al.,
                                 Appellants.


    v.                                                                       Case No. 22-cv-01237-RGA


    Boy Scouts of America and Delaware BSA,
    LLC,


                                 Appellees.


                       MOTION AND ORDER FOR ADMISSION PRO HAC VICE
              Pursuant to Local Rule 83.5 and the attached certification, counsel moves for

the admission pro hac vice of Susan N.K. Gummow, Esquire to represent



1        The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
         number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
         address is 1325 West Walnut Hill Lane, Irving, Texas 75038.



{01854182;v2}
Case 1:22-cv-01237-RGA Document 16 Filed 10/12/22 Page 2 of 5 PageID #: 1180




Appellants: National Union Fire Insurance Company of Pittsburgh, PA; Lexington

Insurance Company; Landmark Insurance Company; The Insurance Company of the

State of Pennsylvania.



Dated: 10/12/22                    /s/ Deirdre M. Richards
                                   Deirdre M. Richards (No.4191)
                                   Fineman Krekstein & Harris, PC
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                                   Wilmington, DE 19801
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                                   Fax: (302) 394- 9228
                                   drichards@finemanlawfirm.com
                                    Attorneys for Appellants: National Union Fire
                                    Insurance Company of Pittsburgh, PA; Lexington
                                    Insurance Company; Landmark Insurance
                                    Company; and The Insurance Company of the State
                                    of Pennsylvania




{01854182;v2}
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                            IN THE UNITED STATE DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


                                                                             Chapter 11
    In re

                                                                             Bankruptcy Case No.
    Boy Scouts of America and Delaware BSA,                                  20-10343 (LSS)
    LLC, 1
                     Debtors.
                                                                             (Jointly Administered)


    National Union Fire Insurance Co. of
    Pittsburgh, PA, et al.,
                                 Appellants.


    v.                                                                       Case No. 22-cv-01237-RGA


    Boy Scouts of America and Delaware BSA,
    LLC,


                                 Appellees.


                                       ORDER GRANTING MOTION
              IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is

granted.

Date:___________                                            _____________________________
                                                              United States District Judge

1        The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
         number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
         address is 1325 West Walnut Hill Lane, Irving, Texas 75038.

{01854182;v2}
Case 1:22-cv-01237-RGA Document 16 Filed 10/12/22 Page 4 of 5 PageID #: 1182




                                 IN THE UNITED STATE DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE


                                                                             Chapter 11
    In re

                                                                             Bankruptcy Case No.
    Boy Scouts of America and Delaware BSA,                                  20-10343 (LSS)
    LLC, 1
                     Debtors.
                                                                             (Jointly Administered)


    National Union Fire Insurance Co. of
    Pittsburgh, PA, et al.,
                                 Appellants.


    v.                                                                       Case No. 22-cv-01237-RGA


    Boy Scouts of America and Delaware BSA,
    LLC,


                                 Appellees.


     CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this
Court, am admitted, practicing and in good standing as a member of the bar of the
State of bar of the State of Illinois (Texas and Louisiana-inactive), and am admitted
in the United States Court of Appeals for the Second Circuit and in the United States
District Court for the Northern District of Illinois, and pursuant to Local Rule 83.6
submit to the disciplinary jurisdiction of this Court for any alleged misconduct which

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         number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
         address is 1325 West Walnut Hill Lane, Irving, Texas 75038.

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occurs in the preparation or the course of this action. I also certify that I am generally
familiar with this Court’s local rules and with the revised Standing Order for the
District Court Fund. I further certify that the annual fee of $25.00 has been paid to
the Clerk of Court for the District Court upon the filing of this motion



Date: 10/12/22                                  /s/ Susan N.K. Gummow
                                                Susan N.K. Gummow, Esquire
                                                (IL 6258070)
                                                Foran Glennon Palandech Ponzi &
                                                Rudloff, P.C.
                                                222 N. LaSalle St., Suite 1400
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{01854182;v2}
